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Case ltlS-ev-OBS€`)B-AJN Document 18-6

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Fi\ed 02/25/19 Page 1 of 1

 

UNITED STATES SECURITIES AND
EXCHANGE COMMISSION

Plaintiff,
V.
ELoN MUSK

Defendant.

 

No. 1:18-cv-8865-AJN-GWG

 

+PR€PGSE‘DT'ORDER REOUIRING DEFENDANT ELON TO SHOW CAUSE
WHY HE SHOULD NOT BE HELD IN CONTEMPT FOR VIOLATING THE
COURT’S FINAL JUDGMENT

This matter is before the Court on the motion of the United States Securities and

Exchange Commission for an Order to show cause Why Defendant Elon Musk should not

be held in civil contempt for violating the terms of the Court’s October l6, 2018 Final

Judgrnent as to Defendant Elon Musk (the “Final Judgment”).

NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED that

Defendant Elon Musk shall submit to this Court by /“l»vc.\\ \\ , 2019, briefing to show

cause, if any, Why he should not be found in contempt of the Court’s Final Judgment.

Dated: §C% }&`¢ , 2019

SO ORDERED:

     
   

  
 

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'“' dnited States District Judge

 

